Fil| m this information to ide11tify the case:

 

United States Bankruptcy Court for the:

1
§ No¢‘the,rn_ Disirictof Califomia
1 (s1aua) '

Ca$€ number (Ifknown):

 

chaprerl l El check if this is an
l amended ming

 

Off_icia| Form 201 v 1 . _
Voluntary Petitic`m for Non-Indlvlduals Filing for Bankruptcy _ 04/16_'

_ lf more space is needed,attac.11 a separate sheet to th1s form. On the top of any addit|onal pages, wr1te the d_eb1or’s name and _the case
number (1f known). For more information, a separate documen1, Instructions for Bankmp1_cy Forms fo_r Non-Indlvlduals, ls availab|e, _4 ' 1 v

1. nebtor's name ' ' srs'vovswgeug

 

 

‘2.4Allothernamesdebtorused l ~ - ' 1 1~ . . ._ ` »
.1n the|as,tsyears ~ _ -- _ - , ' . ‘
.' 1 lnciude any assumed names

. ‘ 4_ »4 trade names and drying business
1 asnames _ l

 

 

 

 

" 3 Debtors federal Empioyer ' -2'_ 51 5-48652'61 »_
‘ identification Number (ElN) _“'“ ”"_~ __ _ _" ’_" '_ _`"“ '

“ 5"'Débtb'|'”s-Ma-dd'*'-e$$ 1" ' |‘ , n ' Pl~'~'"\‘¢"l'$al‘i)|a`ce dibusl'"e$$"_~ ~ 1 ' 1 ‘ 'Ma1l1ngaddress, if dlfferantfrom principal Flace ", " '
" - ~ .» ‘ “ '- 1 1 '."vofbusiness _ 4 4_

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" »Nu_mber . 'Street ' w 4 Number _4 Streer

 

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S°'i“°'""a"CA`QWS '13`¢11se\‘/n'ic`e,`""~'v _' » 7 ¢A'_.. 35747'4
Cny 4- Stai¢ Z|P ended _' ’CifY , ' State ZlP Code

'4 " Locat1on o_f pr1n1:11pal assets, 1f d1ff`erént from
~' -1 1._ _ '-principalplaceofbusfness, .
USanom§/y'~~ `~ `- _.
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b " :Numbe.r ' "Street

 

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~ 4_' `- ' 5,.',`13ehfoi’s'wébsité (U|§L)' " n
. `_ 13 Cor'porat_ion (1nc1ud1ng leifed Ljabill1y Company (LLC} and L'lmited La'abi_lity Pa‘r_'tnershi`p (LLP))

L_,l Partnership (exc}uding LLP)

s.'j T:'/'pe"<'>'fidebt`<'>}@
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' - _¢bffncié\'r=bnn'zo'l".j --4'-_1."1'-'--5_~41\/¢111111`@`1;1Pe,mio'n,1151Ncn~l_ndiv'idhais"Fm`ngforBank¢upt¢y- ‘°pagm "

" 3 'c"':-‘as'e'§"lé'-Fi'c)'?s§"‘ "Do'¢#\"i' " ‘-'1'=1`1'¢`1`:1':~16/'221/'13'.` " `E'n'tered:¥iO/ZA/ia '0'9':4'2';'216' '-Page‘ '1' 'o’f'f'G" i " ' "

 

Big' Toy Storage LLC

Debior
Name

7. Describe debtor’s business

8 Under which chapter cf the
Bankruptcy Code is the
debtor filing?

 

1 B. Check'a//rhat app/y:

C.. NA|CS (Ncrlh Ameri_ean industry C|assi .

Case number (rmwn) _

A._ Check one:

Ci i-ieaiih care eusiness (as demise in 11 u.s.c. § 101(27A)>
53 Singie Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
El Raiiroad (as cleaned 111 11 u.s._c. § 101144»

_ l:] Stock_brcker (es_ defined in 11 U.S.C, § 101(53A))

El commodity maker (as 111-armed 111 11 u s c § 10116»

'_ El clearing eani< (as derian 11111 u s c §7131(3»

Cl None of the above
H"§§'$%Z§s\*e

              

w~§,‘$;<z@"%i“?r;»:__ ' k 19'?§;§3£5€‘/}`?%1='

m T`ax-exempt entity (as_ described in 25 U S C § 501)
a investment company1 including hedge fund or pooled investment vehicle (as defined' in 15 U .S. C

§ 80_a~3). _ _
l;l investment advisor (as defined in 15 U. S. C § 80b-2(a)_(11))
weeeee%eaee€ esceseeesesesit era as ` use l reseeeesieees esteem
ation Syste_m) 4- -digit code that best describes debtor See
. hit :l/vwvw_usco s _ovlfcur- -di it-national-associatiori‘naicscodes _ _ .

   
 

 

   

 

'» 1 Check one:
_ ` l:l Chapte_r7 '
D Chapter9 _
v K_] chapter 11. check a//rharapp/y

g Debior‘s aggregate ncncontingeht liquidated debts (excluding debts owed to _ _
insiders or afliiiates) are less than $2 565 050 (__a_mou_nt subject to adjustment on

__ 4/01/19_ and every 3 years after that). __ _ _ ,

_El T.he debtor is a smaiibusiness debtor as dei" ned1n11 U_ S. C § 101(519) lf the
debtor‘ is a small business debtor. attach the most recent baiano.e sheet statement
of operations cash- flow statement and federal income tax return orif all of these . '_
documents do rio_t exist follow the procedure in 11 _U_. S C § 11`1_5(1_)_(_13) _ .

`_ Cl A plan is being i' led with this petition.`

' . " _C_i Accep`tanc_:es of the plan were solicited prepetition from one or more classes of
~ _ _ creditcrs. in accordance with 11 U 8. C § 1126(b)._ _ _ _ __ _ _,

' ' m The debtor is required to tile periodic reports (for exampie. 10K and 10Q) with the
‘ Sec_uritles and Exchange Commission according to § 13 or15(d) o_f the S.ecuriiies _
Excha_ng_e Aci of 1934 Eile the Attachment to VQ[untary Petit/on for Nan-/nclividua/s Fi`I/n§
__Ior Bank'rup!cy under Chapter 1 1 (Officiai Form 201A) with this fcmi. _ _

' " n _' U `i'he debtor is a` _s_he`ll company as defined ir_i the Seourities Exchahge Ac`t cf 1934 R`uie - .. '_ ', . '

 

 

 

 

 

` ' ‘_i__ista|i cases ifrhore than 1,

"'_','_ette_chaseparateiist _

 

 

» __ -__ " __ 12b-2
1 Cichapieriz ‘
9. Werepriorbankruptcycases~ E|No ~
_flledbyora_gainstthede_l_)tor ‘ U_Y "__D__ ___c__'~ W__ ___ _#_ - C__e __ __ __
t `st e rs -' es is eri" asenum'r 1 - __ `
__withil'i hela 8¥&1_ ? _ _ _ _ __ MM_/.DD'/YYW_ __ _-__-»---_~_-_ _ _
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1 " , ,MM/eo/YYW~ __ .
'_ ~11_1._Areany`bankruptcy cases_.. _ @_No___
~..pendingorbein_gfiiedbya-~ '. .' __ .____ _ _ . _ _ _ __ __
~- -businesspartnei'oi'an ‘ ~.'-UY€S¥'_D¢NQF~ ~~ -' ~ ' ~~ ~_ g »__Reiaiienship_~ . ~ ~ _
"'aft"iiiateofthedebtor? -_--__D,Smd __ __ ._ _ _ ,. When __ _
" “ __ ` _ _-'__MM"/ en /YYY`Y

 

` ` _ ‘_ base nu'na'ber. if kn_own'. ‘

 

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Volurjtaly PetltionfcrNon-'indivlduals' `Fihi`»1`_q.fcr:Bz,in'k'ri,ipt`cyl “ " ' pe_geZ' . ~

4li4-'1':'111§1§~':'`1'.1§"-1151')"7:1911`Yr')'01:`1`11°1*7YFl111':,‘1'11':*_1`1‘cl241/153'17~1;1`1`1"1;1'@013 110/724'/13-09`:4'2:2:6 -P'agé '2 'o'r'-e

 

 

Big Toy S_torage LLC __ ._ Case number rumery/11
Name ,

Deblor

11. why is the case med in this check either app/y.~

distr'ct? 4
l Kl Debtor has had its domicile principal place of business or principal assets' in this district for 180 days
immediately preceding the date of this petition or for a longer part of such 180 days than in any other

district
_ l:l A bankruptcy case concerning debtors affiliate general partnerl or partnership is pending in this district

12. Does the debtor own or have 13 No
p°ssess'°n °f any real 1 l;l Yes Answer below for each property that needs immediate attention Attach additional sheets if needed

property or personal property _
that needs immediate .- _' , _Why does the property need immediate attention? '(c`heck;i//th‘at apply)

'attention?_{ . , . , , . v
, ` . w . ' ` . y ' . ~. _v . ~ Cl il poses or is alleged to poseathreat of imminent and identifiable hazard to public health or safety.
What is the hazard? ' ` ' ' ' ' `
"» "l:_l lt needs to be physically secured or protected from the weather-. » -.

 

' ' n it includes perishable goods pr assets that could quickly deteriorate o`r lose value without . '
attention (forexample, livestock seasonal goods meat, dairy, produoe. or securities related

assets or other options).

 

:“ l.'.'.l other

" Whereisthe property? ‘ . . . v
. v _ Number St_reet

¢

"_ ciry" "°" ' ` ` _ ' state 4"zllscode

~ » " '| ls the property lnsur_ed?
-‘U No ‘

' ,'Cl Yes.. lnsura'h¢e‘agency.`.~ '
":.-_'»:Con'taotna`m:e
Ph°ne `» ._ l
' '~ - Statistica_| and administrative informationj..,. "
4 :1`3. De'bfor's estimation o`f_ -. Check one:

~"`,ava"able funds - - _ .'. . .'4. 4 31 Funds mill be available for distribution to unsecured creditors - -
` ` ' ‘ ' " ` ' " "_ E] Afte_r any administrative expenses are paid no funds will be available for distribution to unsecured creditors ' - ' '

 

 

lZl1-49 _. l.'.]1oooeooo , Elzs,ooi~ao`.ooo~-._
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f Cl$o-$soooo ..~_tB]s1,ooo,oot'-$10mimon. __ Q$soo,ooo,ooi-$ibimon
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'orii¢iali=ohhzoi"lf¥j'_`,',',f ' " ' vbiontaiyi=.etmohfdr`Noh'-,liidividgalsFilin‘gfareankruprcy . y _` `.»*-»j'"'.i>ji»,ige:z4

’ "Caséi"is-`:'L'Oiao""'i)'o‘c'#"l?" "F'i`léd§' 1’0/`24/"1'-87 " "En'i`eré'd:' '1`0/2'4/1‘3` 0`9:'42:*2`6“ "‘F`>`age's oi`o" ~' ' '

 

Debtor 319 T°Y S\Gfése LLC_ Case number imown)

Namo
1 . Ei $c$so,ooo K] $1,000.001-$10 million El ssoo,ooo,ooi-si billion
1" Est'"‘at°d '-'ab"'“es ' l;l $50.001-$100,000 El $10,000.001~$50 million ll] sl,ooo,ooo,ool-$io billion
' 4 El sioo,ooi-$soo,ooo C] $50.4000,001~$100 million Cl sio,ooo,ooo.ooi-sso billion
Cl ssoo.ool-$l million ill $100,00.0,001-$500 mllllon l lI.l lvlore than $50 billion

4 - Request for` Re|ief, Declar'ation,' and $ignatures

W_ARNlNG -~ Ba'nk`ru_ptc_y fraud is a serious crime Maklng a false statement in connection with a bankruptcy case can result in fines up to
$500 000 _or imprisonment for up to 20 years, cr both 18 U S. C. §§ 152, 1341 1519, and 3571 .

 

 

17 De.°|a"ati°n and Signatu"e °f ll The debtor requests relief in accordance with the chapter of title 11, United St'ates Code specified in this ' `
authorized representative of petition 4 v _ ` _ y
,’debtor_ l y . _ ‘ _ . 4 - n
' ' ..- i` have soon aolnoiizo,o to file ihispeiltion~on behali'oiihe debtor '
l l have examined the information in this petition and have a reasonable belief that the information is true and

v correct

' l declare under penally of pendry that the foregoing is true and correct

  

EX¢M `¢,, 111/23/2013 .
g 4 `.Jessah Dunn

 

'_ Slgnatureofauthorized representative ofdehtor '_ - ` 5 Pririted name

Tit`|e Manager ` ’

 

18'si§néidré °f:a.'tt:é[;héy":`f" v x S'q n°*""¢\/€ 6¥\ ww%ggale . toma/zola

Signature of attorney fordeblor _' . '4 ` " MM /DQ. /¥YY¥

 

' Printé_d name

'Geo§e Caat_agr_lola. Lirnlted Representatlon for lelted Fi|lng For purpose of this Filing Orily . ' ` ' -

 
 

 

Finnname_ _
1 aozvnnec.ouria ' '
‘ . 4Number " " Street 41 _

`.~‘.`4City" ` ' . v ' ' " `4',siaie _ ' 4 zlPoode
'-,`Conle£>lphone ' " " iEmailaddress " `

v11`11.'111:1`€1'/.'.`:‘.»-._'\`= , ,, _ ._ , 1 "CA.
Barnurl'tl`)`eij`_4 y ' 4 __ $iale

 

' "`voluniaiyr>e'iiilon`i`or`Non-lndlyiduals ai'lingroraani<rnptoy.-,`; ` j »- page§i" '-

o '_4'¢tflci'alFonn20'1'_-_ - .

" vfines'::'i`i§¢`i0`'7;§9"" 'D`o'o#'i~'»"` 'lfiled`: '10'~/'221'/-`1`8""`Eniere'd': “1'0/2'4/51'8 09:4`2:26“'

cage 461 o

 

Debtor 519 TOY SlOFGQE LLC Case number rv/~nown)
Nome

 

E _ l_ b,| ti C| $0-$50.000 81 $1.000,001-$10 million El ssoo.ooo.ooi-sl billion
16' st"“ated 'a " es El $50,001-$100,000 Cl sio,ooo,ooi-$so million Cl s1,000,000,001-$10 billion
Cl $100,001-$500.000 L`.l 350,000,001-$100 million El $10,000.000.001-$50 billion

Cl $500,001-$1 million a $100,000,001-$500 million l:l More than $50 billion

-_Request for Rellef, Declaration, and Signatures

WARN|NG - Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in lines up to
$500,000 or imprisonment for up to 20 years, or both. 18 U.S,C. §§ 152l 1341. 1519, and 3571.

 

17~ De°'arati°" and signatf"'e °f s The debtor requests relief in accordance with the chapter of title 11, Uniled Stales Code. specified in this
authorized representative of t.t.
debtor pel lon.

~~' l have been authorized to file this petition on behalf of the debtor.
rr- | have examined the infonnatlon in this petition and have a reasonable belief that the infolmation is true and

correct

l declare under penalty of perjury that the foregoing is true and correcl.

Executed on 10/23/2018

 

 

 

 

MM / DD /YYYY
xj}`o [\Q_A-hr( G\A pre/dlth V¢»b'( Jessah Dunn
Signature\of authorized representative of debtor Printed name
Tme Manager
18. Slgnature of attorney y X g gzck, Date 10/23/2018

Slgnature of anomey for debtor MM /DD / VYYY

.l" l ' ` ‘

./)/>1) /'L¢Z /Q¢»)A ,4/ /Oi.»t/p@ 5 <. a QL /-é/S A-/,',,O ca4 />/
George Castagnola. leited Representation for leited Filing For purpose of this F|llng Only
Plinted name

Law thces of George Castagnola

 

 

 

 

 

 

Finn name
802 V\hne Court
Number Street
.Belall.lmL CA 94954
lev slate zlP code
(707) 77e-0232 MlstA@Aol.oom
Contact phone Emeil address
#148387 CA
Bar number State
Official Fonn 201 Vo|untary Petilion for Non-lndividuals Filing for Bankruptcy page 4

Case: 18-10739 Doc# 1 Filed: 10/24/18 Entered: 10/24/18 09:42:26 Page 5 of 6

 

Fii| in this information to identify the case and this filing:

oebior Name aig Tf°y Sl<)'rage Ll.c _ _ _
N°_,"h,em___.@__ Dlsirioi of Ellro_r@__

United Slates Bankruptcy Court for the:
_ (Slalé)

Case number (lfl¢n`cwn):

 

Officiai Form 202 _
¢ Dec|aration Under Fenalty of Perjury for Non-lndlvldual l_Jebt_ors '12115

' An individual who ls authorized to act on behalf ofa non-individual debtor, such as a corporation or partnership, must sign and submit
` _` ' this form for the schedules of assets and liabilities, any other document that requires a declaration that is not Inci_ud`ed in the document,
" and any amendments of those documents This form must state the individual’s position or relationship to the debtor, the identity of the

‘ documen_t, and the date', Bankruptcy Ruies 1008 and 9011.

‘ WARNING -- Bankrupt_cy fraud ls __a serious crime. Making a false stalemenr. concealing propefly, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $5_00, 000 or imprisonment for up to 20 years, or both 18 U. S C §§ 1542,1_341,

’ 1519, and 3571_

_ - Deelaratioll‘l and signature.l'
l am the president another officer, or an authorized agent of the corporation: a member or art authorized agent of the partnershipl cr 4_ .__ _

another individual sewing as a representative of the debtor in this case _. _
z ` - i have examined the information 1'n the documents checked below and i have a reasonable belief that the information is true and correct 4 '

 

 

l Q S.cheduie A/B: Assets»Real and Persor_iai Property (_O`fticiai i-‘orm 206A/B)

_` Schedu'le D: Credr`t_or's Who Have Clalms Secured by Prope'r`ty (Ofr`lclai F`orrn 2061.'_))

_ z$chedl.lle E/F. _Cjed/tors Who Have Unsecuied Claims (Offc`ial Forin 206E]F)`

.- _Schedu/e G. E_x_ecut_ory ¢ont/acts and Uhexpl'red Leases {O`fiiciai F.orm 206G)

‘ 4' schedule H. codebiors iorn;oioi Form‘ 2`_1`)`6_111) ' _ ‘ __ '

‘ 'Summary ofAssets and L/abl'lities for Non-lndlv/due)’s (Ofticlai `i-`orrn 2OBSum)

~`Amencloosohedu/e _‘___'_ "_`_j'_`- _' 71‘_ ' ’ _ .'.,' 1 .-, ._

Chapier 11 or Chapter_ 9 Cases: Llsf of Cre_ditors iMl'o Hava the 20 Largss_r Unsecured C/al`rns and A're /li_ot lns/'der,s (Officlai Forrn 206

 

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"Otherdooumenl that requiresadeclaratlon ' " '

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’ :'f_ .`Exoouierlon 10/23/2018

 

.MM/oo/YYYY ' , signaior§`érlil'olvioualsiooing on l?o'nelr‘oihéoior- "
restoration 4`_".'_4*_1; j _
Frintedname " ` " ' `
Manager

 

Position orre[ationship to debtor "

' ,‘orrlolal‘l‘=orm 202 4j, ‘ ' " 1 1 » . _j ' " ` neolarailon under Ponalr_y ornorjory for Non-lndlvidual pontorsj _ - 3 '

l"'l`l''c";`a‘so`:'1'~’1ie!1¥nies iir`jo‘o’#`i" 1 li=ileri:' '1'0‘/"221`/:18 "Enreire`ol§ 1012`4'/18 09:4~2:-'26' .

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